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In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

*********************
JAMES REEVES                         *
on behalf of B.E.R.,                 *      No. 12-702V
                   Petitioner,       *      Special Master Christian J. Moran
                                     *
v.                                   *      Filed: February 26, 2016
                                     *
SECRETARY OF HEALTH                  *      Attorneys’ fees and costs; award in
AND HUMAN SERVICES,                  *      the amount to which respondent
                                     *      has not objected
                   Respondent.       *
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Anne C. Toale, Maglio Christopher and Toale, Sarasota, FL, for Petitioner;
Jennifer Leigh Reynaud, U.S. Dep’t of Justice, Washington, DC, for Respondent.

              UNPUBLISHED DECISION ON FEES AND COSTS 1

       Petitioner, James Reeves, on behalf of B.E.R., filed an unopposed amended
application for final attorneys’ fees and costs in the above-captioned matter on
February 16, 2016. Previously, Mr. Reeves filed an application for attorneys’ fees
and costs. Upon review of petitioner’s application, respondent raised objections to
certain items. Based on discussions with respondent, petitioner amended his
application to request $43,500.00, an amount to which respondent does not object.
The Court awards this amount.

      Mr. Reeves filed for compensation, on behalf of B.E.R., on October 17,
2012, alleging that B.E.R. was injured by the diphtheria, tetanus, and acellular
pertussis vaccine she received on or about April 5, 2012. Petitioner received
compensation based upon the parties’ stipulation. Decision, issued October 9,

       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
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2015. Because petitioner received compensation, he is entitled to an award of
attorneys’ fees and costs. 42 U.S.C. § 300aa-15(e).

       Petitioner seeks a total of $43,500.00, in attorneys’ fees and costs for his
counsel. Petitioner did not advance any monies in reimbursable costs in pursuit of
his claim, pursuant to General Order #9. Respondent has no objection to the
amount requested for attorneys’ fees and costs.

       After reviewing the request, the Court awards the following:

       A lump sum of $43,500.00, in the form of a check made payable to
       petitioner and petitioner’s attorney, Anne C. Toale, of Maglio
       Christopher and Toale, for attorneys’ fees and other litigation costs
       available under 42 U.S.C. § 300aa-15(e).

      The Court thanks the parties for their cooperative efforts in resolving this
matter. The Clerk shall enter judgment accordingly. 2

     Any questions may be directed to my law clerk, Shannon Proctor, at (202)
357-6360.

       IT IS SO ORDERED.

                                                    s/Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master




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  Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each party filing
a notice renouncing the right to seek review by a United States Court of Federal Claims judge.
